 Fill in this information to identify the case:
 Debtor name Clearwater Transportation, Ltd.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                    Check if this is an

 Case number (if known):               19-50292-cag-11                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hincklease, Inc.                                               Vehicle Fleet                                                                                           $239,089.84
 Attn: Bill Jeffries                                            Lease
 2305 President's Dr.,
 Ste. F
 Salt Lake City, UT
 84020
 Austin Conrac, LLC                                             Austin Contract                                                                                         $165,849.00
 Conrac Managing                                                O&M Costs (Dollar
 c/o Conrac                                                     & Thrifty)
 Solutions
 981 Lowell Ave. SW,
 #125
 Renton, WA 98057
 City of Austin                                                 Thrifty CFCs                                                                                            $152,526.13
 c/o U.S. Bank, N.A.
 P.O. Box 70870
 Saint Paul, MN
 55170-9705
 City of Austin                                                 Dollar CFCs                                                                                             $143,118.74
 c/o U.S. Bank, N.A.
 P.O. Box 70870
 Saint Paul, MN
 55170-9705
 ATS Processing                                                 Trade debt (Tolls)      Disputed                                                                        $117,083.22
 Services
 1150 N. Alma School
 Rd.
 Mesa, AZ 85201
 Highway Toll                                                   Trade debt              Disputed                                                                        $110,799.54
 Administrations
 66 Powerhouse Rd.,
 #103
 Roslyn Heights, NY
 11577
 City of Austin                                                 Thrifty                                                                                                   $98,079.47
 3600 Presidential                                              Concession Fees
 Blvd., #411
 Austin, TX 78719

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Clearwater Transportation, Ltd.                                                                    Case number (if known)         19-50292-cag-11
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 City of Austin                                                 Dollar Concession                                                                                         $92,613.15
 3600 Presidential                                              fees
 Blvd., #411
 Austin, TX 78719
 Union Leasing                                                  Vehicle Fleet                                                                                             $70,132.95
 P.O. Box 75850                                                 Lease (tax
 Chicago, IL                                                    reimbursement &
 60675-5850                                                     invoice)
 DTG Operations,                                                Thrifty Franchise                                                                                         $65,699.96
 Inc. (Thrifty)                                                 Fees
 Lockbox Dept. 673
 6242 E. 41st St.
 Tulsa, OK 74135
 DTG Operations,                                                Dollar Franchise                                                                                          $58,601.60
 Inc. (Dollar)                                                  Fees
 Lockbox Dept. 673
 6242 E. 41st St.
 Tulsa, OK 74135
 Austin Conrac, LLC                                             Austn Conrac                                                                                              $36,375.00
 Conrac Managing                                                Base Rent (Dollar
 c/o Conrac                                                     & Thrifty)
 Solutions
 981 Lowell Ave. SW,
 #125
 Renton, WA 98057
 City of Killeen                                                Concession Fees                                                                                           $26,535.68
 Finance Dept.                                                  (Dollar & Thrifty)
 Attn: Accounts
 Receivable
 P.O. Box 1329
 Killeen, TX 76540
 Selig Leasing                                                  Vehicle Fleet                                                                                             $25,770.16
 Company, Inc.                                                  Lease
 Attn: Steve Schaefer
 2510 S. 108th St.
 West Allis, WI 53227
 Dent Crafters                                                  Trade debt                                                                                                $17,724.98
 166 Briar Forest Dr.
 Bastrop, TX 78602
 City of San Angelo                                             Dollar & Thrifty                                                                                          $16,000.00
 San Angelo                                                     Concession
 Regional Airport                                               Agreement
 8618 Terminal
 Circle, #101
 San Angelo, TX
 76904
 City of Austin                                                 Service Area Real                                                                                         $15,881.25
 3600 Presidential                                              Estate Lease
 Blvd., #411
 Austin, TX 78719




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Clearwater Transportation, Ltd.                                                                    Case number (if known)         19-50292-cag-11
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Town North Nissan                                              Trade debt                                                                                                $13,506.53
 9160A Research
 Blvd.
 Austin, TX 78758
 City of San Angelo                                             Hertz Concession                                                                                          $12,791.16
 San Angelo                                                     Agreement (Rent
 Regional Airport                                               and MAG)
 8618 Terminal
 Circle, #101
 San Angelo, TX
 76904
 Calhoun, Thomson                                               Trade debt                                                                                                $12,000.00
 & Matza
 9500 Arboretum
 Blvd., #120
 Austin, TX 78759




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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